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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                             CASE NO. 19-cv-61350-ALTMAN/HUNT


  In re: Citrix Data Breach Litigation


                       CONSOLIDATED CLASS ACTION COMPLAINT

         Plaintiffs Lee Milligan, on behalf of himself and his minor son, Lindsey Howard, Kristi

  Jackson, Michelle Ramus, Charles Ramus, Brandon Sargent, and Natalie Young (collectively

  “Plaintiffs”), individually and on behalf of all persons similarly situated (the “Class” or “Class

  members”), bring this Consolidated Class Action Complaint against Defendant Citrix Systems,

  Inc. (“Defendant” or “Citrix”), based upon personal knowledge with respect to themselves, and

  on information and belief derived from, among other things, investigation of counsel and review

  of public documents as to all other matters.

                                     NATURE OF THE CASE

         1.      Citrix is a global technology provider of virtualization services, including server

  and desktop virtualization, networking, software-as-a-service and cloud technologies. Roughly

  400,000 organizations nationwide use Citrix’s services, including the U.S. Department of

  Defense. In 2018, Citrix reported net revenues of nearly $3 billion.

         2.      On March 8, 2019, Citrix disclosed that hackers gained access to its internal

  networks. At that time, Citrix stated only that “it appears that the hackers may have accessed and

  downloaded business documents. The specific documents that may have been accessed,

  however, are currently unknown.” Citrix was reportedly completely unaware of the attack until

  March 6, 2019, when the FBI informed it that up to 10 terabytes of its data had been stolen.
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          3.     In April 2019, Citrix acknowledged that the hackers “removed information

  relating to certain individuals who are current and former employees, as well as certain

  beneficiaries and dependents. Beginning on October 13, 2018 and continuing through March 8,

  2019, hackers exploited glaring vulnerabilities in the Citrix’s network to steal valuable employee

  data. This information may have included, for example, names, Social Security numbers, and

  financial information” (the “Data Breach”).

          4.     As a matter of course, and on an ongoing basis, Citrix collected its employees’

  sensitive personal and financial information, including names, addresses, Social Security

  numbers, bank account numbers, and other personal and financial information (“Personal

  Information”) as a condition of their employment. Accordingly, Citrix had an obligation to secure

  that information by implementing reasonable and appropriate safeguards compliant with industry-

  standard data security practices.

          5.     Citrix has now acknowledged that hackers were able to access its networks using

  a basic and well-known technique known as “password spraying” that exploits weak passwords.

  Citrix’s failure to implement and maintain reasonable safeguards to protect against these types of

  attacks was and is contrary to the representations made in its employee handbook and its express

  and implied agreements with its employees. In addition to Citrix’s failure to prevent the Data

  Breach, Citrix also failed to detect the breach, allowing hackers to access its networks and

  exfiltrate data over a period of more than four months.

          6.     As a result of Citrix’s failure to protect the information with which it was entrusted

  to safeguard, Plaintiffs and Class members have already suffered harm and have been exposed to

  a significant risk of identity theft, financial fraud, and other identity-related fraud for years to

  come.



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                                    JURISDICTION AND VENUE

          7.      This Consolidated Complaint is intended to serve as a superseding complaint as to

  all other complaints consolidated in this litigation, and to serve for all purposes as the operative

  pleading for the Classes defined below. This Court has subject matter jurisdiction over this action

  under the Class Action Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds

  $5 million exclusive of interest and costs. There are more than 100 putative class members. And,

  at least some members of the proposed Class have a different citizenship from Citrix. This Court

  has supplemental jurisdiction over the state law claims pursuant to 28 U.S.C. § 1367 because all

  claims alleged herein form part of the same case or controversy.

          8.      This Court has jurisdiction over Citrix as maintains its corporate headquarters in

  this District. Defendant is authorized to and conducts business in this District and is subject to

  general personal jurisdiction in this state.

          9.      Venue is proper in this Court pursuant to 28 U.S.C. § 1391(a)(1) because a

  substantial part of the events and omissions giving rise to this action occurred in this District,

  Citrix maintains its headquarters within this District, and Citrix has caused harm to Class

  members residing in this District.

                                                 PARTIES

          10.     Defendant Citrix Systems, Inc. is a Delaware corporation with its principal place

  of business located in Ft. Lauderdale, Florida.

          11.     Plaintiff Lee Milligan and his minor son are residents and citizens of Cumming,

  Georgia. Plaintiff Milligan is a former employee of Citrix.

          12.     Plaintiff Lindsey Howard is a resident and citizen of Coral Springs, Florida, and

  former employee of Citrix.



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            13.   Plaintiff Kristi Jackson is a resident and citizen of Florida, and former employee of

  Citrix.

            14.   Plaintiff Michelle Ramus is a resident and citizen of Tampa, Florida, and former

  employee of Citrix.

            15.   Plaintiff Charles Ramus is a resident and citizen of Tampa, Florida and was listed

  in Michelle Ramus’s employment records as her beneficiary.

            16.   Plaintiff Brandon Sargent is a resident and citizen of Goldsboro, North Carolina,

  and former employee of Citrix.

            17.   Plaintiff Natalie Young is a resident and citizen of Parkland, Florida, and former

  employee of Citrix.

                                    STATEMENT OF FACTS

  A.        Citrix Knew it was a Target of Cyber-Threats

            18.   Citrix is a major technology company specializing in “delivering digital

  workspace, networking, and analytics solutions that help customers drive innovation and be

  productive anytime, anywhere.”1 Citrix employed 8,200 employees as of the end of 2018.

            19.   Citrix represents that “more than 100 million users across 400,000 organizations –

  including 99% of the Fortune 500 – trust Citrix to power a better way to work.”2 Chief amongst

  its most well-known products and services is its Virtual Desktop solutions, which allows users to

  remotely access their desktops and applications from anywhere. Citrix’s holdings include its




  1
    Citrix Systems, Inc., 2018 Form 10-K (“Citrix 2018 Form 10-K”),
  https://d18rn0p25nwr6d.cloudfront.net/CIK-0000877890/5a296e8b-c25a-4a37-a5df-
  ceb29faed950.pdf (last visited July 26, 2019).
  2
    Citrix, About Us, https://www.citrix.com/about/ (last visited July 26, 2019).

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  wholly-owned “GoTo family of service offerings” consisting of GoToMeeting, GoToWebinar,

  GoToTraining, GoToMyPC, GoToAssist, Grasshopper and OpenVoice.3

           20.    Consistent with its position at the vanguard of technology companies, Citrix is

  well aware of the risks associated with failing to protect its information systems and the Personal

  Information contained therein. Specifically, Citrix’s public filings state:

           Actual or perceived security vulnerabilities in our solutions and services or
           cyberattacks on our networks could have a material adverse impact on our
           business, results of operations and financial condition.

           Use of our solutions and services may involve the transmission and/or storage of
           data, including in certain instances customers’ business, financial and personal
           data. Thus, maintaining the security of our solutions, computer networks and
           data storage resources is important as security breaches could result in
           solution or service vulnerabilities and loss of and/or unauthorized access to
           confidential information. We aim to engineer secure solutions and services,
           enhance security and reliability features in our solutions and services, deploy
           security updates to address security vulnerabilities and seek to respond to known
           security incidents in sufficient time to minimize any potential adverse impact. We
           have in the past, and may in the future, discover vulnerabilities in our solutions or
           underlying technology, which could expose our operations and our customers to
           risk until such vulnerabilities are addressed. In addition, to the extent we are
           diverting our resources to address and mitigate these vulnerabilities, it may hinder
           our ability to deliver and support our solutions and customers in a timely manner.

           As a more general matter, unauthorized parties may attempt to
           misappropriate or compromise our confidential information or that of third
           parties, create system disruptions, product or service vulnerabilities or cause
           shutdowns. These perpetrators of cyberattacks also may be able to develop and
           deploy viruses, worms, malware and other malicious software programs that
           directly or indirectly attack our products, services or infrastructure (including
           third party cloud service providers – such as Microsoft Azure and Amazon Web
           Services and Google Cloud Platform – upon which we rely).

  Citrix 2018 Form 10-K at 15 (second and third emphasis added).

           36.    Citrix was further aware of its need to attract and retain talented employees:

           Our success depends, in large part, on our ability to attract, engage, retain, and
           integrate qualified executives and other key employees throughout all areas of our

  3
      Citrix 2018 Form 10-K at 3.

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         business. Identifying, developing internally or hiring externally, training and
         retaining highly-skilled managerial, technical, sales and services, finance and
         marketing personnel are critical to our future, and competition for experienced
         employees can be intense.
                                                 ***
         Competition for qualified personnel in our industry is intense because of the
         limited number of people available with the necessary technical skills and
         understanding of solutions in our industry. The loss of services of any key
         personnel, the inability to retain and attract qualified personnel in the future or
         delays in hiring may harm our business and results of operations.

  Citrix 2018 Form 10-K at 14-15.

         37.     Citrix also maintains a “Code of Business Conduct” which “sets out Citrix’s

  expectations for the Citrix community (including its employees, directors, partners, suppliers and

  contractors).”4 Under the heading “Protect Personal Information,” Citrix directs its community

  to: “Always protect the privacy of our employees, customers, and partners.”5

         38.     Moreover, Citrix directs its community to: “Handle personal information in a

  manner that will avoid accidental loss or alteration or unauthorized access” and “[n]ever disclose

  personal information to anyone outside of Citrix without specific authorization from your

  manager and the local Legal representative in your region.”6

         39.     Citrix knew that it could not retain and attract qualified employees if it did not

  adequately invest in data security and adopt measures to protect their Personal Information. But

  despite recognizing these information security risks, and acknowledging its crucial need to

  attract and retain qualified employees, Citrix failed to take necessary precautions to ensure their

  Personal Information was secure.



  4
    Citrix Code of Business Conduct June 2018, at 3,
  https://www.citrix.com/content/dam/citrix/en_us/documents/about/code-of-business-conduct.pdf
  (last visited July 26, 2019).
  5
    Id. at 13.
  6
    Id.

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         40.     At all relevant times, Citrix was aware, or should have been aware, that the

  Personal Information it collected, maintained and stored in its systems is highly sensitive,

  susceptible to attack, and could be used for wrongful purposes by third parties, such as identity

  theft and fraud. Indeed, Citrix observed frequent public announcements of employee-related data

  breaches affecting technology companies, healthcare companies, retailers, and restaurant chains,

  and knew that personal and financial information of the type stored by Citrix is highly coveted

  and a frequent target of hackers.

         41.     In fact, in the years prior to the Data Breach, Citrix itself has been a frequent target

  of hackers across the globe. For example, in October 2015, an “altruistic” Russian hacker known

  as “w0rm” – who is infamous for attacks on a number of high profile targets including CNET,

  Adobe, and Bank of America – stated in a blog post that he was able to gain access to Citrix’s

  content management system via an insecure password. From there, w0rm “was able to exploit a

  series of security holes to gain access to the company’s administrative system including the

  remote assistance system.”7

         42.     Cyberint, a cyber-security intelligence company based in Israel, said it identified

  the hack in October 2015 and promptly tried to notify Citrix. According to Elad Ben-Meir, vice

  president of marketing at Cyberint, the company made repeated efforts to notify Citrix, but

  received no response. In addition, the hacker w0rm tweeted Citrix with a link to its blog posting

  on October 25, 2015, and said it received no response.8

         43.     According to Ben-Meir, an analysis of w0rm’s attack showed that it had gained

  access to all of Citrix’s customers through the administrative system. This would have enabled

  7
    See Tom Reeve, I hacked Citrix, says Russian hacker w0rm, SC Magazine UK (Jan. 11, 2016),
  https://www.scmagazineuk.com/i-hacked-citrix-says-russian-hacker-w0rm/article/1477764 (last
  visited July 26, 2019).
  8
    Id.

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  an attacker potentially to bypass customers’ security systems and upload malware undetected.

  “Citrix offer[s] a platform for remote assistance – [w0rm] could if he wanted to – but he didn’t

  actually use it, but if he wanted to he could penetrate every endpoint of Citrix customers out

  there,” said Ben-Meir. “Essentially if he had wanted to, he could have put malware into every

  end user of every Citrix customer which then would allow it to either keylog the things the

  people type, he could steal sensitive information from those end points, or he could use those

  endpoints as a botnet to run DDos attacks. A hacker that gains access to that amount of PCs is

  basically really powerful.”9

         44.     The hacker told media outlets that its goals were actually altruistic, and that the

  hack was driven by a desire to upgrade internet security: “By targeting high-profile sites, the

  group says it can raise awareness about security flaws.”10

         45.     In response to the report, Citrix’s Chief Security Officer, Stan Black, issued a

  statement acknowledging that while Citrix’s content management system was accessed, the

  “server under question did not contain any customer, employee or other sensitive or confidential

  information.”11 The statement further noted that “we have no evidence that this threat actor has

  accessed systems other than the single content management server. We will continue to

  monitor the environment for unauthorized access and changes.”12




  9
    Id.
  10
     Alasdair Gilchrist, W0rm hackers hit Citrix in show of power, ITProPortal (Jan. 12, 2016),
  https://www.itproportal.com/2016/01/12/w0rm-hackers-hit-citrix-show-power/ (last visited July
  26, 2019).
  11
     Stan Black, No Access to Sensitive Info; No Broad Network Access, Citrix.com (Jan. 18,
  2016), https://www.citrix.com/blogs/2016/01/12/no-access-to-sensitive-info-no-broad-network-
  access-4/ (last visited July 26, 2019).
  12
     Id. (emphasis in original).

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         46.     The 2015 hack by w0rm is not the only breach Citrix has experienced in recent

  years. In June 2016, GoToMyPC, a popular remote desktop software owned by Citrix, required all

  users to reset their passwords after disclosing it was “targeted by a very sophisticated password

  attack.” A Citrix representative stated at the time that “the recent incident was a password re-use

  attack, where attackers used usernames and passwords leaked from other websites to access the

  accounts of GoToMyPC users. At this time, the response includes a mandatory password reset for

  all GoToMyPC users. Citrix encourages customers to visit the GoToMyPC status page to learn

  about enabling two-step verification, and to use strong passwords in order to keep accounts as

  safe as possible.”13

         47.     In December 2018, Citrix forced a password reset for users of its secure file

  sharing and transfer service known as Sharefile. In response to questions by security industry

  personnel as to the reasons for the password reset, Citrix spokesperson Jamie Buranich claimed,

  “This is not in response to a breach of Citrix products or services.” But at the time this statement

  was made, hackers had already gained access to Citrix’s networks.

         48.     Also in December 2018, Citrix published a blog post touting the importance of

  data security in a world that has a “staggering” number of data breaches:

         2018 has seen an unprecedented number of records breached by
         hackers. According to the Breach Level Index, in just the first half of 2018, more
         records were compromised than in all of 2017. The number of records
         compromised in 2018 is in the multi billions. It’s staggering.

         With the credentials harvested from these attacks, and the bad guys knowing that
         people will use the same password for multiple systems and websites, “credential
         stuffing” – a type of cyber-attack where stolen emails and passwords obtained
         through these types of breaches are used to try and gain unauthorized access to
         other systems – has become a serious threat facing businesses and individuals.

  13
    Brian Krebs, Citing Attack, GoToMyPC Resets All Passwords, KrebsOnSecurity (June 20,
  2016), https://krebsonsecurity.com/2016/06/citing-attack-gotomypc-resets-all-passwords/ (last
  visited July 26, 2019).

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          Late last week, not long after new high profile security breaches were revealed, in
          the course of our ongoing security monitoring, we saw incidences in ShareFile
          that had some of the characteristics of credential stuffing. After further analysis,
          we became very concerned that indeed perpetrators were using credentials
          obtained from breaches unrelated to ShareFile to attempt to gain access to
          individual accounts.

          We made an immediate decision to limit the risk to our ShareFile customers by
          forcing a password reset. We knew the timing over the weekend was not ideal, but
          felt it far more important to help our customers by fundamentally stopping the
          credential stuffing effort. We acknowledge it has been inconvenient to customers,
          and regret the inconvenience, but we were acting in our customers’ best interests.
          It was the most expeditious way to end the attack, and proactively help our
          customer protect their data.14

          49.     Yet, despite Citrix’s stated desire to protect its customer information and its

   knowledge of what it called “unprecedented data breaches,” Citrix failed to implement

   reasonable safeguards to protect its own employees’ information stored by the company.

          50.     As Citrix acknowledges, the rise in the number of data breaches is attributable to

   the fact that information of the type exposed in the Data Breach is highly-coveted and valuable on

   underground markets. For example, a cyber “black market” exists in which criminals openly post

   and sell stolen consumer information on underground internet websites known as the “dark web”

   – exposing impacted individuals to identity theft and fraud for years to come.

          51.     Legitimate organizations and the criminal underground alike recognize the value

   of personal information contained in a merchant’s data systems; otherwise, they would not

   aggressively seek or pay for it. At all relevant times, Citrix knew, or reasonably should have

   known, of the importance of safeguarding Personal Information and of the foreseeable




   14
     Stan Black, Citrix forces password reset to protect against credential stuffing, Citrix.com
   (Dec. 7, 2018), https://www.citrix.com/blogs/2018/12/04/citrix-forces-password-reset-to-protect-
   against-credential-stuffing/ (last visited July 26, 2019).

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   consequences of a breach of its data security system, including, specifically, the significant costs

   that would be imposed on its employees as a result of a breach.

          52.     In this case, Citrix was at all times fully aware of its obligation to protect the

   Personal Information of its employees. Citrix was also aware of the significant repercussions if it

   failed to do so because Citrix collected data from thousands of employees and knew that this data,

   if compromised, would result in injury to its employees and their beneficiaries and dependents.

   Unfortunately, despite its recognition of the risks of inadequate data security practices, Citrix

   failed to adopt reasonable safeguards to protect against known and obvious cyber-threats.

   B.     The Data Breach and Password Spraying

          53.     In its March 8, 2019, public announcement, Citrix disclosed that it had been

   contacted by the Federal Bureau of Investigation (“FBI”) and advised that “they had reason to

   believe that international cyber criminals gained access to the internal Citrix network.”15 Even at

   that early time, however, the “FBI ha[d] advised that the hackers likely used a tactic known as

   password spraying, a technique that exploits weak passwords. Once they gained a foothold with

   limited access, they worked to circumvent additional layers of security.”16

          54.     On April 4, 2019, Citrix revealed the following additional information:

          We are devoting significant resources to manage this incident with painstaking
          deliberateness and thoroughness. We have brought on board multiple leading
          cyber security firms to assist our internal team with the work, and we continue to
          be engaged with the FBI.

          Based on where we are in the investigation at this point:




   15
       Stan Black, Citrix investigating unauthorized access to internal network, Citrix.com (Mar. 8,
   2019), https://www.citrix.com/blogs/2019/03/08/citrix-investigating-unauthorized-access-to-
   internal-network/ (last visited July 26, 2019).
   16
      Id.

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                   We identified password spraying, a technique that exploits weak
                    passwords, as the likely method by which the threat actors entered our
                    network.

                   We have taken measures to expel the threat actors from our systems.
                    Additionally, we’ve performed a forced password reset throughout the
                    Citrix corporate network and improved internal password management
                    protocols.

                   We have found no indication that the threat actors discovered and exploited
                    any vulnerabilities in our products or services to gain entry.

                   Based upon the investigation to date, there is no indication that the security
                    of any Citrix product or service was compromised by the threat actors.17

          55.       Citrix ultimately notified Plaintiffs and Class members of the Data Breach by

   letter dated April 29, 2019 (the “Notice Letter”).18 The Notice Letter confirmed that hackers had

   not only accessed Citrix’s network between October 13, 2018 and March 8, 2019, but also

   “removed files from [Citrix’s] systems, which may have included files containing information

   about our current and former employees and, in limited cases, information about beneficiaries

   and/or dependents.”19 The Notice Letter further acknowledged that the stolen information could

   have included names, Social Security numbers, and financial information for current and former

   employees, including potentially their dependents and beneficiaries.20

          56.       The Notice Letter recommended that affected individuals “remain vigilant for

   incidents of fraud and identity theft by, for example, regularly reviewing your account statements

   and regularly monitoring your credit reports. If you discover any suspicious or unusual activity


   17
      Eric Armstrong, Citrix provides update on unauthorized internal network access, Citrix.com
   (Apr. 4, 2019), https://www.citrix.com/blogs/2019/04/04/citrix-provides-update-on-
   unauthorized-internal-network-access/ (last visited July 26, 2019).
   18
      See Citrix Sample Notice of Data Breach Letter provided to California Attorney General,
   https://oag.ca.gov/system/files/CX1%20US%20LTR%20%28no%20MA%20or%20CT%29_0.p
   df (last visited July 26, 2019).
   19
      Id.
   20
      Id.

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   on your accounts or suspect identity theft or fraud, be sure to report it immediately to your

   financial institutions.”21

              57.   Unfortunately, Citrix’s notification to affected individuals was severely deficient

   in numerous respects. First, Citrix failed to disclose exactly who was affected and what

   information was compromised, instead using vague phrasing “information relating to certain

   individuals who are current and former employees, as well as certain beneficiaries and

   dependents” and giving non-exhaustive examples including “names, Social Security numbers,

   and financial information.” But employers like Citrix routinely store all sorts of other employee

   information, including full names and addresses, e-mail addresses, employee system passwords,

   tax information, W-2 and other IRS forms, insurance information that may include the personal

   information of dependents and family members, and payroll records, among others.

   Consequently, Plaintiffs and Class members remain in the dark regarding what information was

   actually stolen.

              58.   Citrix’s failure to specify what information was stolen is important because

   affected individuals may take different precautions depending on what type of information was

   compromised. For example, if W-2 information, tax information, or payroll records were

   compromised, affected individuals may need to contact the Internal Revenue Service or their

   accountants to place fraud alerts on their accounts. If the breach included Social Security

   numbers or other identifiable information, the impacted individuals may need to enroll in credit

   monitoring, contact their financial institutions or credit bureaus to freeze their accounts, or take

   other additional measures. By failing to identify exactly who was affected or what information

   was compromised, Citrix has prevented its current and former employees from taking


   21
        Id.

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   meaningful, proactive, and targeted mitigation measures that could help protect them from years

   of financial harm.

           59.     In addition to lacking the necessary safeguards to secure Personal Information,

   Citrix did not have adequate monitoring systems and controls in place to detect the unauthorized

   infiltration after it occurred. Citrix, like any company its size storing valuable data, should have

   had robust protections in place to detect and terminate a successful intrusion long before access

   and exfiltration could expand to thousands of employee files. In this case, Citrix only learned of

   the breach after the FBI warned Citrix its systems were compromised months after they were

   initially accessed.

           60.     Moreover, the Data Breach was entirely preventable given that password spraying

   is a well-known tactic of cyber attackers. As explained by the Department of Homeland Security

   (“DHS”) in a March 2018 alert:

           In a traditional brute-force attack, a malicious actor attempts to gain unauthorized
           access to a single account by guessing the password. This can quickly result in a
           targeted account getting locked-out, as commonly used account-lockout policies
           allow three to five bad attempts during a set period of time. During a password-
           spray attack (also known as the “low-and-slow” method), the malicious actor
           attempts a single password against many accounts before moving on to attempt a
           second password, and so on. This technique allows the actor to remain undetected
           by avoiding rapid or frequent account lockouts.

           Password spray campaigns typically target single sign-on (SSO) and cloud-based
           applications utilizing federated authentication protocols. An actor may target this
           specific protocol because federated authentication can help mask malicious traffic.
           Additionally, by targeting SSO applications, malicious actors hope to maximize
           access to intellectual property during a successful compromise.

           Email applications are also targeted. In those instances, malicious actors would
           have the ability to utilize inbox synchronization to (1) obtain unauthorized access
           to the organization’s email directly from the cloud, (2) subsequently download
           user mail to locally stored email files, (3) identify the entire company’s email




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          address list, and/or (4) surreptitiously implements inbox rules for the forwarding of
          sent and received messages.22

          61.    DHS also described the typical “tactics, techniques, and procedures (TTPs)” of a

   password-spray attack, which include:

                    Using social engineering tactics to perform online research (i.e., Google
                     search, LinkedIn, etc.) to identify target organizations and specific user
                     accounts for initial password spray

                    Using easy-to-guess passwords (e.g., “Winter2018”, “Password123!”) and
                     publicly available tools, execute a password spray attack against targeted
                     accounts by utilizing the identified SSO or web-based application and
                     federated authentication method

                    Leveraging the initial group of compromised accounts, downloading the
                     Global Address List (GAL) from a target’s email client, and performing a
                     larger password spray against legitimate accounts; and

                    Using the compromised access, attempting to expand laterally (e.g., via
                     Remote Desktop Protocol) within the network, and performing mass data
                     exfiltration using File Transfer Protocol tools such as FileZilla.23

          62.    DHS also detailed the indicators of a password spray attack, which include:

                    A massive spike in attempted logons against the enterprise SSO
                     portal or web-based application;

                         o Using automated tools, malicious actors attempt
                           thousands of logons, in rapid succession, against
                           multiple user accounts at a victim enterprise, originating
                           from a single IP address and computer (e.g., a common
                           User Agent String).

                         o Attacks have been seen to run for over two hours.

                    Employee logons from IP addresses resolving to locations
                     inconsistent with their normal locations.24



   22
      U.S. Dep’t of Homeland Security, Alert (TA18-086A): Brute Force Attacks Conducted by
   Cyber Actors (Mar. 27, 2018, last revised March 28, 2018), available at: https://www.us-
   cert.gov/ncas/alerts/TA18-086A (last visited July 26, 2019).
   23
      Id.
   24
      Id.

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          63.    Importantly, months before the initial intrusion at Citrix began, DHS detailed both

   the typical victim environment for password spray attacks, and the methods to prevent such an

   intrusion:

          Typical Victim Environment

          The vast majority of known password spray victims share some of the following
          characteristics:

                    Use SSO or web-based applications with federated authentication
                     method

                    Lack multifactor authentication (MFA)

                    Allow easy-to-guess passwords (e.g., “Winter2018”, “Password123!”)

                    Use inbox synchronization, allowing email to be pulled from cloud
                     environments to remote devices

                    Allow email forwarding to be setup at the user level

                    Limited logging       setup    creating   difficulty   during   post-event
                     investigations
                                                   ***
          Solution

          Recommended Mitigations

          To help deter this style of attack, the following steps should be taken:

                    Enable MFA and review MFA settings to ensure coverage over all
                     active, internet facing protocols.

                    Review password policies to ensure they align with the latest NIST
                     guidelines and deter the use of easy-to-guess passwords.

                    Review IT helpdesk password management related to initial passwords,
                     password resets for user lockouts, and shared accounts. IT helpdesk
                     password procedures may not align to company policy, creating an
                     exploitable security gap.




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                     Many companies offer additional assistance and tools [that] can help
                      detect and prevent password spray attacks, such as the Microsoft blog
                      released on March 5, 2018.25

          64.     In fact, following the Data Breach, Citrix even posted on its website a blog post

   entitled “Security best practices: Multi-factor authentication”26 that advised its clients on the risks

   of password spraying and the best ways to combat such attacks:

          WHAT IS PASSWORD SPRAYING?
          Password spraying is a technique in which cyber criminals use passwords from
          previous breaches, or generated password lists, to attempt access to an
          environment. Slowly testing against many user accounts, from a variety of source
          networks, these attacks are hard to identify since many do not trigger threshold
          alarms.

          HOW DO YOU PROTECT YOURSELF FROM PASSWORD SPRAYING?
          Multi-factor authentication (MFA) and user education are the most traditional,
          and in many cases, the most effective deterrents. We will focus on these two
          protections in this article, but there are additional protections that can be layered
          in to provide added security. Increased audit, analytics, and defining a secure
          digital perimeter also help detect and protect against attacks.

          The weakest link determines the ultimate strength of your security system. Often,
          this link is your users’ passwords. As a result, our most common security
          recommendation is to enforce MFA for all external entry points.
                                                    ***
          USER EDUCATION
          As passwords are the key to unlocking your environment, your end users play a
          key role in ensuring their passwords deter rather than enable criminals. However,
          some users don’t fully understand, or aren’t aware of, security policies and best
          practices around password development. Therefore, user education is an
          important step in fortifying your systems’ password security. Too often we rely
          on password length and complexity requirements to enforce our password policy.
          What looks like a complex password scheme leads to a simple password that is
          trivial for a computer to crack. In addition, some organizations go further by
          periodically testing users’ passwords against known vulnerable passwords and
          discouraging users from using repeatable, easy patterns.

   25
      Id. (footnotes omitted).
   26
      Hector Lima, Security best practices: Multi-factor authentication, Citrix.com (April 4, 2019),
   https://www.citrix.com/blogs/2019/04/04/security-best-practices-multi-factor-authentication/
   (last visited July 26, 2019).

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          IN CLOSING
          Security safeguards and attacks against them are continually evolving. In light of
          new attack methods we’ve seen in recent months, multi-factor authentication and
          user education around passwords have become two important steps that every
          organization can take to help deter cyber criminals from gaining entry to their
          environment.27

          65.     But despite Citrix’s recommendation that its clients implement multi-factor

   authentication “for all external entry points” and acknowledgement that “multi-factor

   authentication and user education around passwords” are “important steps that every organization

   can take to help deter cyber criminals from gaining entry to their environment” – Citrix failed to

   heed its own security advice for safeguarding the Personal Information of its employees.28

          66.     On July 24, 2019, Citrix president and CEO, David Henshall posted on Citrix’s

   website a blog post entitled “Citrix concludes investigation of unauthorized internal network

   access.”29 In the post, Citrix confirmed that “the cyber criminals gained access to our internal

   network through password spraying, a technique that exploits weak passwords. Once in our

   network, the cyber criminals intermittently accessed and, over a limited number of days between

   October 13, 2018, and March 8, 2019, principally stole business documents and files from a

   company shared network drive that has been used to store current and historical business

   documents, as well as a drive associated with a web-based tool used in our consulting practice.”30

          67.     Citrix further acknowledged that the “cyber criminals also may have accessed the

   individual virtual drives and company email accounts of a very limited number of compromised


   27
      Id.
   28
      Id.
   29
      David Henshall, Citrix concludes investigation of unauthorized internal network access,
   Citrix.com (July 24, 2019), https://www.citrix.com/blogs/2019/07/19/citrix-concludes-
   investigation-of-unauthorized-internal-network-access/ (last visited July 26, 2019).
   30
      Id.

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   users and launched without further exploitation a limited number of internal applications.” It

   stated that “[a]s part of an extensive e-discovery process, experts are carefully reviewing

   documents and files that may have been accessed or were stolen in this incident. We have

   notified, or shortly will notify, the limited number of customers who may need to consider

   additional protective steps.”31

            68.    Regarding remediation measures, Citrix asserted that “we have taken significant

   actions to safeguard our systems and improve protocols. We performed a global password reset,

   improved our internal password management, and strengthened password protocols. Further, we

   improved our logging at the firewall, increased our data exfiltration monitoring capabilities, and

   eliminated internal access to non-essential web-based services along with disabling non-essential

   data transfer pathways. We also deployed [third party security vendor] FireEye’s endpoint agent

   technology across our systems to provide an additional layer of defense. These protective agents

   perform continuous monitoring across the enterprise permitting us to quickly contain any

   detected issues.”32

            69.    Under the heading “Moving Forward,” Henshall stated that he is “focused on

   fostering a security culture at Citrix that prioritizes prevention and also ensures that we detect and

   respond effectively to any future incidents. The improvements to our security culture will extend

   to the highest levels of our company” including implementing a “cybersecurity committee” to

   “become a permanent part of our governance model.”33 But rather than apologize to those

   individuals who were impacted, Henshall instead thanked them for their “support”:

            Finally, I want to express my sincerest appreciation to the employees and
            customers that have been impacted by this incident for their understanding and
   31
      Id.
   32
      Id.
   33
      Id.

                                                    19
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          support. Throughout the investigation, we have endeavored to be as transparent as
          possible with key findings and lessons learned, but we recognize that is not
          enough. And while we have made meaningful strides towards improving our
          cyber security defenses, we live in a dynamic threat environment that requires a
          culture of continuous improvement. I want to assure you that we are fully
          committed to continuing to foster such a culture, and we are doing everything
          possible to ensure this type of incident cannot happen again.34

          70.     Unfortunately, the data security measures that Citrix is now putting into place –

   such as implementing multi-factor authentication and strengthening password requirements – are

   measures that any reasonable company (and especially technology company) should have

   implemented years ago. Had Citrix heeded the DHS’s guidelines or followed its own advice to

   its clients, the Data Breach could have been prevented entirely.

          C.      Citrix Failed to Comply With FTC Requirements

          71.     Federal and State governments have established security standards and issued

   recommendations to temper data breaches and the resulting harm to individuals and financial

   institutions. The Federal Trade Commission (“FTC”) has issued numerous guides for businesses

   highlighting the importance of reasonable data security practices. According to the FTC, the need

   for data security should be factored into all business decision-making.35

          72.     In 2016, the FTC updated its publication, Protecting Personal Information: A

   Guide for Business, which established guidelines for fundamental data security principles and

   practices for business.36 Among other things, the guidelines note businesses should protect the

   personal customer information that they keep; properly dispose of personal information that is no

   34
      Id.
   35
      Federal Trade Commission, Start With Security (June 2015),
   https://www.ftc.gov/system/files/documents/plain-language/pdf0205-startwithsecurity.pdf (last
   visited July 26, 2019).
   36
      Federal Trade Commission, Protecting Personal Information: A Guide for Business (Oct.
   2016), https://www.ftc.gov/system/files/documents/plain-language/pdf-0136_proteting-personal-
   information.pdf (last visited July 26, 2019).

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   longer needed; encrypt information stored on computer networks; understand their network’s

   vulnerabilities; and implement policies to correct security problems. The guidelines also

   recommend that businesses use an intrusion detection system to expose a breach as soon as it

   occurs; monitor all incoming traffic for activity indicating someone is attempting to hack the

   system; watch for large amounts of data being transmitted from the system; and have a response

   plan ready in the event of a breach.37

          73.     Additionally, the FTC recommends that companies limit access to sensitive data;

   require complex passwords to be used on networks; use industry-tested methods for security;

   monitor for suspicious activity on the network; and verify that third-party service providers have

   implemented reasonable security measures.38

          74.     Highlighting the importance of protecting against data breaches, the FTC has

   brought enforcement actions against businesses for failing to adequately and reasonably protect

   Personal Information, treating the failure to employ reasonable and appropriate measures to

   protect against unauthorized access to confidential consumer data as an unfair act or practice

   prohibited by Section 5 of the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. § 45.

   Orders resulting from these actions further clarify the measures businesses must take to meet their

   data security obligations.39

          75.     As a technology company, Citrix understood the risks and consequences of

   inadequate data security, but nevertheless operated network systems with outdated operating

   systems and software, and failed to detect the hackers’ presence for months, notice the massive


   37
      Id.
   38
      FTC, Start With Security, supra note 35.
   39
      Federal Trade Commission, Privacy and Security Enforcement Press Releases,
   https://www.ftc.gov/news-events/media-resources/protecting-consumer-privacy/privacy-
   security-enforcement (last visited July 26, 2019).

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   amounts of data that were being exfiltrated from its databases, or take any steps to investigate the

   numerous other red flags that should have warned the company about what was happening.

          76.     Citrix’s failure to employ reasonable and appropriate measures to protect against

   unauthorized access to confidential employee data constitutes an unfair act or practice prohibited

   by Section 5 of the FTC Act, 15 U.S.C. § 45.

   D.     Plaintiffs’ Employment with Citrix and Discovery of Breach

          77.     Plaintiffs are, or were, all employed by Citrix and provided their Personal

   Information as a condition of that employment, and/or are family members of those employed or

   formerly employed by Citrix whose information was obtained by Citrix as a result of their family

   members’ employment.

          1. Plaintiff Lee Milligan

          78.     Plaintiff Lee Milligan and his minor son are citizens of Georgia. Plaintiff Milligan

   was employed by Citrix from 2013 to 2018. As a condition of his employment, Plaintiff Milligan

   provided Citrix with significant amounts of his personal and financial information, including his

   name and address, Social Security number, bank and financial account information, insurance

   information, and payroll and tax information, as well as information pertaining to his

   beneficiaries and dependents.

          79.     In a letter dated April 24, 2019, Plaintiff Milligan was notified by Citrix that his

   Personal Information may have been compromised in the Data Breach. On July 16, 2019, Plaintiff

   Milligan received a follow-up letter from Citrix’s Chief Privacy and Digital Risk Officer Peter

   Lefkowitz confirming that the Personal Information of Plaintiff Milligan’s nine-year-old son was

   exfiltrated in the Data Breach. The letter stated that “we are providing this notice so that you or

   your dependent can take the steps you deem appropriate.”



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          80.     As a result of the Data Breach, Plaintiff Milligan has spent time and effort

   researching the Data Breach, monitoring his financial accounts to detect potential fraud, and

   intends to purchase identity theft monitoring services on behalf of his family and minor son.

          2. Plaintiff Lindsey Howard

          81.     Plaintiff Howard was hired by Citrix as a contractor in early 2006 and served in

   that role until approximately August 2007. From August 2007 through May 2018, Plaintiff

   Howard was a full-time employee of Citrix, holding roles as a billing maintenance representative,

   consulting services billing associate, and accounts receivable representative, among others.

   Plaintiff Howard left Citrix in May 2018 to pursue other opportunities.

          82.     As a condition of her employment, Plaintiff Howard provided Citrix with

   significant amounts of her personal and financial information, including her name and address,

   Social Security number, bank and financial account information, insurance information, and

   payroll and tax information. Plaintiff Howard also provided Citrix with Personal Information

   relating to her spouse and three minor children who were her beneficiaries and dependents.

          83.     After receiving the Notice Letter dated April 29, 2019, Plaintiff Howard became

   fearful for the safety of herself and her family. As recommended by Citrix, Plaintiff Howard has

   taken and continues to take steps to mitigate against possible harm, including daily monitoring of

   her and her family’s credit reports and financial accounts. Plaintiff Howard also pays a monthly

   fee to enroll in identity theft protection and credit monitoring services through Complete ID to

   help discover and protect against instances of identity theft or fraud.

          84.     Plaintiff Howard subsequently received an alert notifying her that her Personal

   Information was located on illegal internet sites on the dark web. Plaintiff Howard has suffered




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   stress and anxiety worrying about the safety and financial well-being of her family and three

   minor children.

          3. Plaintiff Kristi Jackson

          85.     Plaintiff Kristi Jackson was employed by Citrix from 1998 to 2003. As a

   condition of her employment, Plaintiff Jackson provided Citrix with significant amounts of her

   personal and financial information.

          86.     After receiving a letter from Citrix notifying her that her Personal Information

   was stolen, Plaintiff Jackson spent time and effort putting a credit freeze in place and is currently

   paying for credit monitoring.

          87.     Plaintiff Jackson also had to file a police report because she is receiving phishing

   attempts at her current job. The phishing attempts sought to have Plaintiff Jackson’s current

   human resources department route her direct deposit to a fraudulent account.

          4. Plaintiff Michelle Ramus

          88.     Plaintiff Michelle Ramus was employed by Citrix from April 2017 to April 2019.

   Her husband, Plaintiff Charles Ramus, was listed in her employment records as her beneficiary.

          89.     On or around April 29, 2019, Ms. Ramus received a letter from Citrix informing

   her that her Personal Information was stolen.

          90.     Later, on June 5, 2019, Ms. Ramus received an email from Citrix’s human

   resources offering two years of credit monitoring, which was also extended to her beneficiaries,

   including her husband, Plaintiff Charles Ramus. The email also informed Ms. Ramus that Citrix

   was working on a revised letter to its current and former employees regarding the Data Breach.




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           91.    As a result of the Data Breach, Plaintiff Michelle Ramus has spent time and effort

   contacting her credit card companies and monitoring her financial accounts to detect fraudulent

   activity.

           5. Plaintiff Charles Ramus

           92.    Plaintiff Charles Ramus is married to Plaintiff Michelle Ramus and was included

   in her Citrix employment records as her beneficiary.

           93.    Beginning on approximately March 15, 2019, Plaintiff Ramus started receiving

   notifications from his credit card companies, banks, and online accounts – including Paypal,

   Amazon, and eBay – that an unauthorized person(s) was constantly attempting to access his

   accounts and passwords related to those accounts. Plaintiff Ramus has about 12 accounts. For

   each account, Plaintiff Ramus was asked to reset his password numerous times, and even after

   the reset, he had to reset them again, for at least an additional three times. To date, there have

   been approximately 30 hacking attempts to Plaintiff Ramus’ financial accounts and online

   accounts.

           94.    As a result of these hacking attempts, Plaintiff Ramus had to spend additional

   time and effort to implement two-factor authentication on his accounts. However, even with the

   implementation of two-factor authentication, Plaintiff Ramus still experienced attempted hacking

   issues to his accounts. For example, Plaintiff Ramus received texts asking if he requested access

   to an account and requested a change to his password. This has happened approximately 10 times

   since Plaintiff Ramus added two-factor authentication to his accounts.

           95.    As a result of the Data Breach, Plaintiff Charles Ramus has spent time and effort,

   and continues to spend time and effort, researching and monitoring his financial and online

   accounts in an effort to detect and prevent any further misuse.



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          6. Plaintiff Brandon Sargent

          96.     Plaintiff Brandon Sargent is a citizen of North Carolina. Plaintiff Sargent was

   employed by Citrix from 2015 to 2019. As a condition of his employment, Plaintiff Sargent

   provided Citrix with significant amounts of his personal and financial information.

          97.     Citrix collected, stored and used Plaintiff Sargent’s Personal Information.

   Following the Data Breach, Plaintiff had fraudulent charges to his debit card and was forced to

   freeze the account. While his account was frozen, Plaintiff Sargent’s vehicle broke down and he

   was unable to pay for repairs, until he got his new card a week later. Plaintiff has also received

   fraudulent phone calls and other identity theft attempts that have caused him to waste countless

   hours mitigating the damage from this breach.

          7. Plaintiff Natalie Young

          98.     Plaintiff Natalie Young was employed by Citrix from March 4, 2019 through July

   1, 2019. As a condition of her employment with Citrix, Plaintiff Young was required to provide

   Citrix with her personal and financial information, including her Social Security number, bank

   and financial account information, such as routing and checking account numbers, tax

   information, and her name and address. Plaintiff Young also provided Citrix with personal

   information relating to her beneficiaries.

          99.     On or around April 8, 2019, Plaintiff Young received a fraud notice from her bank

   informing her that her financial accounts were locked. Plaintiff Young’s bank informed her that

   her bank routing number and checking account numbers and Social Security number were

   compromised, and that her financial account was completely emptied. As a result, Plaintiff

   Young lost use of her funds, which she needed for her daily living necessities, among other




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   things. Plaintiff Young’s bank also informed her that she was not the first Citrix employee to

   have had their financial account hacked since the announcement of the Data Breach.

          100.    On the evening of April 8, 2019, at 7:14 p.m., Plaintiff Young informed Citrix’s

   Human Resources Department and Citrix’s Security Department of what happened to her

   financial account. That same evening, on or around 9:00 p.m., Citrix’s Human Resources

   personnel, Peggy Way, called Plaintiff Young and told her that she spoke with the Director of

   Global Security Risk Services, Jeff Dean, about what had happened. Rather than taking the

   matter seriously, Mr. Dean told Plaintiff Young: “Don’t you think if anyone’s accounts are going

   to be hacked it would be an executive versus a sales person?”

          101.    On or around April 9, 2019, Mr. Dean responded to Plaintiff Young’s note by

   simply directing her to the FTC website regarding identity theft (www.identitytheft.gov/steps)

   without any information concerning the Data Breach that would help Plaintiff Young take

   proactive, meaningful, and targeted mitigation measures to protect herself from further financial

   headache and harm.

          102.    On May 17, 2019, Plaintiff Young received an email from Citrix stating that her

   “current user account password has been identified as a compromised password” and to “change

   [her] password immediately.” (Emphasis in original).

          103.    As a result of the Data Breach, Plaintiff Young’s banking has become

   complicated. Each time Plaintiff Young is paid her wages, she must go, in-person, to her bank to

   transfer her money into her checking account so she can access and use her funds.

          104.    During the process of working with her bank to resolve the fraud, Plaintiff

   Young’s electronic bill payments have been repeatedly denied, resulting in late fees to her.

   Plaintiff Young experienced late fees as recently as July 2019.



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          105.    Plaintiff Young has also suffered additional damages, including the loss of use of

   her funds for approximately four days.

          106.    Moreover, as a result of the Data Breach, Plaintiff Young has spent time and

   money driving to the bank to handle and manage her financial affairs, has incurred late fees due

   to bill payments having been repeatedly denied, and has spent countless hours attempting to fix

   her financial account. Plaintiff Young continues to spend time and effort researching and

   monitoring her financial accounts in an effort to detect and prevent any further misuse and

   unauthorized access.

   E.     The Citrix Data Breach Caused Harm and Will Result in Additional Fraud

          107.    Without detailed disclosure to Citrix’s employees and others impacted, affected

   individuals including Plaintiffs and Class members have been left exposed, unknowingly and

   unwittingly, for months, to continued misuse and ongoing risk of misuse of their Personal

   Information without being able to take necessary precautions to prevent imminent harm.

          108.    The ramifications of Citrix’s failure to keep Plaintiffs’ and Class members’ data

   secure are severe.

          109.    The FTC defines identity theft as “a fraud committed or attempted using the

   identifying information of another person without authority.” 17 C.F.R § 248.201. The FTC

   describes “identifying information” as “any name or number that may be used, alone or in

   conjunction with any other information, to identify a specific person.” Id.

          110.    Personal identifying information is a valuable commodity to identity thieves once

   the information has been compromised. As the FTC recognizes, once identity thieves have




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   personal information, “they can drain your bank account, run up your credit cards, open new

   utility accounts, or get medical treatment on your health insurance.”40

          111.    Identity thieves can use personal information, such as that of Plaintiffs and Class

   members, which Citrix failed to keep secure, to perpetrate a variety of crimes that harm victims.

   For instance, identity thieves can use the Personal Information to: (a) create fake credit cards that

   can be swiped and used to make purchases as if they were the real credit cards; (b) reproduce

   stolen debit cards and use them to withdraw cash from ATMs; (c) commit immigration fraud; (d)

   obtain a fraudulent driver’s license or ID card in the victim’s name; (e) obtain fraudulent

   government benefits or medical treatment; (f) file a fraudulent tax return using the victim’s

   information; (g) commit espionage; or (h) commit any number of other frauds, such as obtaining a

   job, procuring housing, or giving false information to police during an arrest.

          112.    Annual monetary losses from identity theft are in the billions of dollars. According

   to a Presidential Report on identity theft produced in 2007:

          In addition to the losses that result when identity thieves fraudulently open
          accounts . . . individual victims often suffer indirect financial costs, including the
          costs incurred in both civil litigation initiated by creditors and in overcoming the
          many obstacles they face in obtaining or retaining credit. Victims of non-financial
          identity theft, for example, health-related or criminal record fraud, face other
          types of harm and frustration.

          In addition to out-of-pocket expenses that can reach thousands of dollars for the
          victims of new account identity theft, and the emotional toll identity theft can
          take, some victims have to spend what can be a considerable amount of time to
          repair the damage caused by the identity thieves. Victims of new account identity
          theft, for example, must correct fraudulent information in their credit reports and




   40
      Federal Trade Commission, Warning Signs of Identity Theft (May 2015),
   https://www.consumer.ftc.gov/articles/0271-warning-signs-identity-theft (last visited July 26,
   2019).

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          monitor their reports for future inaccuracies, close existing bank accounts and
          open new ones, and dispute charges with individual creditors.41

          113.    The unauthorized disclosure of Social Security Numbers can be particularly

   damaging because Social Security Numbers cannot easily be replaced. In order to obtain a new

   number, a person must prove, among other things, he or she continues to be disadvantaged by the

   misuse. Thus, under current rules, no new number can be obtained until the damage has been

   done. Furthermore, as the Social Security Administration warns:

          A new number probably will not solve all your problems. This is because other
          governmental agencies (such as the Internal Revenue Service and state motor
          vehicle agencies) and private businesses (such as banks and credit reporting
          companies) likely will have records under your old number. Also, because credit
          reporting companies use the number, along with other Personal Information, to
          identify your credit record, using a new number will not guarantee you a fresh
          start. This is especially true if your other Personal Information, such as your name
          and address, remains the same.

          If you receive a new Social Security Number, you will not be able to use the old
          number anymore.

          For some victims of identity theft, a new number actually creates new problems.
          If the old credit card information is not associated with the new number, the
          absence of any credit history under the new number may make it more difficult
          for you to get credit.42

          114.    In fact, Javelin Strategy and Research reports that identity thieves have stolen

   $112 billion in the past six years.43



   41
      Federal Trade Commission, Combating Identity Theft A Strategic Plan (April 2007),
   https://www.ftc.gov/sites/default/files/documents/reports/combating-identity-theft-strategic-
   plan/strategicplan.pdf (last visited July 26, 2019).
   42
      Social Security Administration, Identity Theft and Your Social Security Number (June 2017),
   available at: http://www.ssa.gov/pubs/10064.html (last visited July 26, 2019).
   43
      Javelin Research, 2016 Identity Fraud: Fraud Hits an Inflection Point (Feb. 2, 2016),
   available at: https://www.javelinstrategy.com/coverage-area/2016-identity-fraud-fraud-hits-
   inflection-point (last visited July 26, 2019).

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          115.    Even in instances where a consumer is reimbursed for a financial loss due to

   identity theft or fraud, that does not make that individual whole again as there is typically

   significant time and effort associated with seeking reimbursement. The Department of Justice’s

   Bureau of Justice Statistics found that identity theft victims “reported spending an average of

   about 7 hours clearing up the issues” relating to identity theft or fraud.44

          116.    There may also be a significant time lag between when personal information is

   stolen and when it is actually misused. According to the U.S. Government Accountability Office

   (“GAO”), which conducted a study regarding data breaches:

          [L]aw enforcement officials told us that in some cases, stolen data may be held
          for up to a year or more before being used to commit identity theft. Further, once
          stolen data have been sold or posted on the Web, fraudulent use of that
          information may continue for years. As a result, studies that attempt to measure
          the harm resulting from data breaches cannot necessarily rule out all future
          harm.45
          117.    Moreover, Plaintiffs and Class members place significant value in data security.

   Had they known their employer would not adequately protect and secure their Personal

   Information, they would have refused to provide such information or sought alternative

   employment.

   F.     Plaintiff and Class Members Suffered Damages

          118.    The Personal Information of Plaintiffs and Class members is private and sensitive

   in nature and was left inadequately protected by Citrix. Citrix did not obtain Plaintiffs’ and Class

   members’ consent to disclose their Personal Information to any other person as required by

   applicable law and industry standards.

   44
      U.S. Department of Justice, Victims of Identity Theft, 2014 (Sept. 2015, revised Nov. 13,
   2017), http://www.bjs.gov/content/pub/pdf/vit14.pdf (last visited July 26, 2019).
   45
      U.S. Government Accountability Office Report to Congressional Requesters, Data Breaches
   Are Frequent, but Evidence of Resulting Identity Theft Is Limited; However, the Full Extent Is
   Unknown (June 2007), http://www.gao.gov/new.items/d07737.pdf (last visited July 26, 2019).

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          119.    The Data Breach was a direct and proximate result of Citrix’s failure to properly

   safeguard and protect Plaintiffs’ and Class members’ Personal Information from unauthorized

   access, use, and disclosure, as required by various state and federal regulations, industry

   practices, and the common law, including Citrix’s failure to establish and implement appropriate

   administrative, technical, and physical safeguards to ensure the security and confidentiality of

   Plaintiffs’ and Class members’ Personal Information to protect against reasonably foreseeable

   threats to the security or integrity of such information.

          120.    Citrix had the resources to prevent a breach. Citrix made significant expenditures

   to market its products and tout its prowess in the technology field, but neglected to adequately

   invest in data security, despite the growing number of intrusions and several years of well-

   publicized data breaches.

          121.    Had Citrix remedied the deficiencies in its systems, followed DHS guidelines, and

   adopted security measures recommended by experts in the field, Citrix would have prevented or

   discovered the intrusion into its network and systems and, ultimately, the theft of its current and

   former employees’ Personal Information.

          122.    As a direct and proximate result of Citrix’s wrongful actions and inaction and the

   resulting Data Breach, Plaintiffs and Class members have been placed at an imminent,

   immediate, and continuing increased risk of harm from identity theft and identity fraud, requiring

   them to take the time, which they otherwise would have dedicated to other life demands, such as

   work, to mitigate the actual and potential impact of the Data Breach on their lives including,

   inter alia, by placing “freezes” and “alerts” with credit reporting agencies, contacting their

   financial institutions, closing or modifying financial accounts, closely reviewing and monitoring

   their credit reports and accounts for unauthorized activity, and filing police reports.



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          123.   Citrix’s wrongful actions and inaction directly and proximately caused the theft

   and dissemination into the public domain of Plaintiffs’ and Class members’ Personal

   Information, causing them to suffer, and continue to suffer, economic damages and other actual

   harm for which they are entitled to compensation, including:

              a. identity theft and fraud resulting from the theft of their Personal Information;

              b. costs associated with the detection and prevention of identity theft and
                 unauthorized use of their financial accounts;

              c. costs associated with purchasing credit monitoring, credit freezes, and identity
                 theft protection services;

              d. unauthorized charges and loss of use of and access to their financial account funds
                 and costs associated with inability to obtain money from their accounts or being
                 limited in the amount of money they were permitted to obtain from their accounts,
                 including missed payments on bills and loans, late charges and fees, and adverse
                 effects on their credit;

              e. lowered credit scores resulting from credit inquiries following fraudulent activities;

              f. costs associated with time spent and the loss of productivity or the enjoyment of
                 one’s life from taking time to address and attempt to address and mitigate the
                 actual and future consequences of the Data Breach, including discovering
                 fraudulent charges, cancelling and reissuing cards, purchasing credit monitoring
                 and identity theft protection services, imposing withdrawal and purchase limits on
                 compromised accounts, and the stress, nuisance and annoyance of dealing with all
                 issues resulting from the Data Breach;

              g. the imminent and certainly impending injury flowing from potential fraud and
                 identify theft posed by their Personal Information being placed in the hands of
                 criminals and/or misused via sale on the Internet black market;

              h. damages to and diminution in value of their Personal Information entrusted to
                 Citrix for the sole purpose of working for Citrix; and

              i. the loss of Plaintiffs’ and Class members’ privacy.

          124.   Citrix continues to hold Personal Information of its current and former employees,

   including Plaintiffs and Class members. Particularly because Citrix has demonstrated an inability

   to prevent a breach, or stop one from continuing even after detection, Plaintiffs and Class



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   members have an undeniable interest in ensuring that their Personal Information is secure,

   remains secure, is properly and promptly destroyed and is not subject to further theft.

                                       CLASS ALLEGATIONS

          125.    Plaintiffs seek relief on behalf of themselves and as representatives of all others

   who are similarly situated. Pursuant to Rule 23(a), (b)(2), (b)(3) and/or (c)(4), Fed. R. Civ. P.,

   Plaintiffs seek certification of a nationwide class defined as follows:

          All individuals residing in the United States whose Personal Information was
          compromised in the data breach initially disclosed by Citrix in or about March
          2019 (the “Class” or “Nationwide Class”).

          126.    Pursuant to Rule 23, and in the alternative to claims asserted on behalf of the

   Nationwide Class, Plaintiffs Howard, Jackson, Michelle Ramus, Charles Ramus, and Young

   assert claims under the law of Florida on behalf of a separate statewide subclass, defined as

   follows:

          All individuals residing in Florida whose Personal Information was compromised
          in the data breach initially disclosed by Citrix in or about March 2019 (the
          “Florida Subclass”).

          127.    Pursuant to Rule 23, Plaintiffs Milligan (on behalf of himself), Howard, Jackson,

   Michelle Ramus, Sargent, and Young assert claims on behalf of a separate employee subclass,

   defined as follows:

          All current and former employees of Citrix whose Personal Information was
          compromised in the data breach initially disclosed by Citrix in or about March
          2019 (the “Citrix Employee Subclass”).

          128.    Excluded from each of the above Classes are all persons who make a timely

   election to be excluded from the Class; government entities; and the judge(s) to whom this case is

   assigned and their immediate family and court staff.




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           129.    Plaintiffs hereby reserve the right to amend or modify the class definition(s) with

   greater specificity or division after having had an opportunity to conduct discovery.

           130.    Each of the proposed Classes meets the criteria for certification under Rule 23(a),

   (b)(2), (b)(3) and/or (c)(4).

           131.    Numerosity. Fed. R. Civ. P. 23(a)(1). Consistent with Rule 23(a)(1), the

   members of the Class are so numerous and geographically dispersed that the joinder of all

   members is impractical. While the exact number of Class members is unknown to Plaintiffs at

   this time, the proposed Class includes potentially tens of thousands of individuals whose

   Personal Information was compromised in the Data Breach. Class members may be identified

   through objective means, including by and through Citrix’s business records. Class members may

   be notified of the pendency of this action by recognized, Court-approved notice dissemination

   methods, which may include U.S. mail, electronic mail, internet postings, and/or published notice.

           132.    Commonality. Fed. R. Civ. P. 23(a)(2) and (b)(3). Consistent with Rule 23(a)(2)

   and with 23(b)(3)’s predominance requirement, this action involves common questions of law and

   fact that predominate over any questions affecting individual Class members. The common

   questions include:

           a.      Whether Citrix had a duty to protect Personal Information;

           b.      Whether Citrix knew or should have known of the susceptibility of its systems to

                   a data breach;

           c.      Whether Citrix’s security measures to protect its systems were reasonable in light

                   of known legal requirements, such as the FTC data security recommendations, and

                   industry standards;




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           d.      Whether Citrix was negligent in failing to implement reasonable and adequate

                   security procedures and practices;

           e.      Whether Citrix’s failure to implement adequate data security measures allowed the

                   breach of its data systems to occur;

           f.      Whether Citrix’s conduct constituted unfair or deceptive trade practices;

           g.      Whether Citrix’s conduct, including its failure to act, resulted in or was the

                   proximate cause of the breach of its systems, resulting in the loss of the Personal

                   Information of Plaintiffs and Class members;

           h.      Whether Plaintiffs and Class members were injured and suffered damages or other

                   losses because of Citrix’s failure to reasonably protect its systems and data

                   network; and,

           i.      Whether Plaintiffs and Class members are entitled to relief.

           133.    Typicality. Fed. R. Civ. P. 23(a)(3). Consistent with Rule 23(a)(3), Plaintiffs’

   claims are typical of those of other Class members. Plaintiffs are current and former employees

   (or dependents or beneficiaries of current and former employees) whose Personal Information

   was in Citrix’s possession at the time of the Data Breach and was compromised as a result of the

   Data Breach. Plaintiffs’ damages and injuries are akin to other Class members and Plaintiffs seek

   relief consistent with the relief of the Class.

           134.    Adequacy. Fed. R. Civ. P. 23(a)(4). Consistent with Rule 23(a)(4), Plaintiffs are

   adequate representatives of the Class because Plaintiffs are members of the Class and are

   committed to pursuing this matter against Citrix to obtain relief for the Class. Plaintiffs have no

   conflicts of interest with the Class. Plaintiffs’ Counsel are competent and experienced in

   litigating class actions, including extensive experience in data breach and privacy litigation.



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   Plaintiffs intend to vigorously prosecute this case and will fairly and adequately protect the

   Class’s interests.

           135.    Superiority. Fed. R. Civ. P. 23(b)(3). Consistent with Rule 23(b)(3), a class

   action is superior to any other available means for the fair and efficient adjudication of this

   controversy, and no unusual difficulties are likely to be encountered in the management of this

   class action. The purpose of the class action mechanism is to permit litigation against wrongdoers

   even when damages to individual plaintiffs may not be sufficient to justify individual litigation.

   Here, the damages suffered by Plaintiffs and the Class are relatively small compared to the burden

   and expense required to individually litigate their claims against Citrix, and thus, individual

   litigation to redress Citrix’s wrongful conduct would be impracticable. Individual litigation by

   each Class member would also strain the court system. Individual litigation creates the potential

   for inconsistent or contradictory judgments, and increases the delay and expense to all parties and

   the court system. By contrast, the class action device presents far fewer management difficulties

   and provides the benefits of a single adjudication, economies of scale, and comprehensive

   supervision by a single court.

           136.    Injunctive and Declaratory Relief. Class certification is also appropriate under

   Rule 23(b)(2) and (c). Defendant, through its uniform conduct, acted or refused to act on grounds

   generally applicable to the Class as a whole, making injunctive and declaratory relief appropriate

   to the Class as a whole.

           137.    Likewise, particular issues under Rule 23(c)(4) are appropriate for certification

   because such claims present only particular, common issues, the resolution of which would

   advance the disposition of this matter and the parties’ interests therein. Such particular issues

   include, but are not limited to:



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             a.      Whether Citrix owed a legal duty to Plaintiffs and the Class to exercise due care in

                     collecting, storing, and safeguarding their Personal Information;

             b.      Whether Citrix’s security measures to protect is systems were reasonable in light

                     of known legal requirements, such as the FTC data security recommendations, and

                     industry standards;

             c.      Whether Citrix failed to take commercially reasonable steps to safeguard the

                     Personal Information of Plaintiff and the Class members; and,

             d.      Whether adherence to FTC data security recommendations, industry standards, and

                     measures recommended by data security experts would have reasonably prevented

                     the Data Breach.

             138.    Finally, all members of the proposed Class are readily ascertainable. Citrix has

   access to information regarding which of its employees, former employees, and their

   beneficiaries and dependents were affected by the Data Breach. Using this information, the

   members of the Class can be identified through objective means.

                                           CAUSES OF ACTION

                                         COUNT I
                                       NEGLIGENCE
                  (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS, OR,
                   ALTERNATIVELY, PLAINTIFFS AND THE FLORIDA SUBCLASS)

             139.    Plaintiffs restate and re-allege paragraphs 1 through 138 as if fully set forth

   herein.

             140.    Citrix owed a duty to Plaintiffs and the Class to exercise reasonable care in

   obtaining, securing, safeguarding, storing, and protecting Plaintiffs’ and Class members’

   Personal Information within its control from being compromised, lost, stolen, accessed and

   misused by unauthorized persons. This duty includes, among other things, designing,

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   maintaining and testing Citrix’s security systems to ensure that Plaintiffs’ and Class members’

   information in Citrix’s possession was adequately secured and protected.

          141.    Citrix owed a duty of care to Plaintiffs and members of the Class to provide

   security, consistent with industry standards, to ensure that its systems and networks adequately

   protected the Personal Information of its current and former employees.

          142.    Citrix owed a duty of care to Plaintiffs and members of the Class because they

   were foreseeable and probable victims of any inadequate security practices. Citrix knew or

   should have known of the inherent risks in collecting and storing the Personal Information of its

   employees and their beneficiaries and dependents and the critical importance of adequately

   securing such information.

          143.    Plaintiffs and members of the Class entrusted Citrix with their Personal

   Information on the premise and with the understanding that Citrix would safeguard their

   information, and Citrix was in a position to protect against the harm suffered by Plaintiffs and

   members of the Class as a result of the Data Breach.

          144.    Citrix’s own conduct also created a foreseeable risk of harm to Plaintiffs and Class

   members and their Personal Information. Citrix’s misconduct included failing to: (1) secure its

   systems, despite knowing their vulnerabilities, (2) comply with industry standard data security

   practices, (3) implement adequate system and event monitoring, and (4) implement the systems,

   policies, and procedures necessary to prevent this type of data breach.

          145.    Citrix knew, or should have known, of the risks inherent in collecting and storing

   Personal Information, the vulnerabilities of its systems, and the importance of adequate security.

   Citrix knew about numerous, well-publicized data breaches within the technology industry

   including those targeting its own company.



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          146.    Citrix breached its duties to Plaintiffs and Class members by failing to provide

   fair, reasonable, or adequate computer systems and data security practices to safeguard Personal

   Information of Plaintiffs and Class members.

          147.    Because Citrix knew that a breach of its systems would damage tens of thousands

   of current and former Citrix employees, including Plaintiffs and Class members, Citrix had a duty

   to adequately protect its data systems and the Personal Information contained thereon.

          148.    Citrix had a special relationship with Plaintiffs and Class members. Plaintiffs’ and

   Class members’ willingness to entrust Citrix with their Personal Information as a condition of

   employment was predicated on the understanding that Citrix would take adequate security

   precautions to protect their Personal Information.

          149.    Citrix also had independent duties under state and federal laws that required Citrix

   to reasonably safeguard Plaintiffs’ and Class members’ Personal Information and promptly notify

   them about the Data Breach.

          150.    Citrix breached its duties to Plaintiffs and Class members in numerous ways,

   including:

          a.      by failing to provide fair, reasonable, or adequate computer systems and data

                  security practices to safeguard Personal Information of Plaintiffs and Class

                  members;

          b.      by creating a foreseeable risk of harm through the misconduct previously

                  described;

          c.      by failing to implement adequate security systems, protocols and practices

                  sufficient to protect Plaintiffs’ and Class members’ Personal Information both

                  before and after learning of the Data Breach;



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          d.      by failing to comply with industry standard data security standards during the

                  period of the Data Breach; and

          e.      by failing to timely and accurately disclose that Plaintiffs’ and Class members’

                  Personal Information had been improperly acquired or accessed.

          151.    The law further imposes an affirmative duty on Citrix to timely disclose the

   unauthorized access and theft of the Personal Information to Plaintiffs and the Class so that

   Plaintiffs and Class members can take appropriate measures to mitigate damages, protect against

   adverse consequences, and thwart future misuse of their Personal Information.

          152.    Citrix breached its duty to notify Plaintiffs and Class Members of the

   unauthorized access by waiting to notify Plaintiffs and Class members and then by failing to

   provide Plaintiffs and Class members sufficient information regarding the breach, including

   disclosing what information was compromised and who was affected. To date, Citrix has not

   provided sufficient information to Plaintiffs and Class members regarding the extent of the

   unauthorized access and continues to breach its disclosure obligations to Plaintiffs and the Class.

          153.    Through Citrix’s acts and omissions described in this Complaint, including

   Citrix’s failure to provide adequate security and its failure to protect Personal Information of

   Plaintiffs and Class members from being foreseeably captured, accessed, disseminated, stolen

   and misused, Citrix unlawfully breached its duty to use reasonable care to adequately protect and

   secure Personal Information of Plaintiffs and Class members during the time it was within

   Citrix’s possession or control.

          154.    Further, through its failure to provide timely and clear notification of the Data

   Breach to consumers, Citrix prevented Plaintiffs and Class members from taking meaningful,

   proactive, and targeted measures to mitigate against potential harm.



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          155.    Citrix improperly and inadequately safeguarded the Personal Information of

   Plaintiffs and Class members in deviation of standard industry rules, regulations, and practices at

   the time of the unauthorized access. Citrix’s failure to take proper security measures to protect

   sensitive Personal Information of Plaintiffs and Class members as described in this Complaint,

   created conditions conducive to a foreseeable, intentional criminal act, namely the unauthorized

   access of Personal Information of Plaintiffs and Class members.

          156.    Citrix’s conduct was grossly negligent and departed from all reasonable standards

   of care, including, but not limited to: failing to adequately protect the Personal Information;

   failing to conduct regular security audits; failing to provide adequate and appropriate supervision

   of persons having access to Personal Information of Plaintiffs and Class members; and failing to

   provide Plaintiffs and Class members with timely and sufficient notice that their sensitive

   Personal Information had been compromised.

          157.    Neither Plaintiffs nor the other Class members contributed to the Data Breach and

   subsequent misuse of their Personal Information as described in this Complaint.

          158.    As a direct and proximate cause of Citrix’s conduct, Plaintiffs and Class members

   have suffered and will suffer injury and damages, including but not limited to: (i) the loss of the

   opportunity to determine for themselves how their Personal Information is used; (ii) the

   publication and/or theft of their Personal Information; (iii) out-of-pocket expenses associated with

   the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of

   their Personal Information; (iv) lost opportunity costs associated with effort expended and the loss

   of productivity addressing and attempting to mitigate the actual and future consequences of the

   Data Breach, including but not limited to efforts spent researching how to prevent, detect, contest

   and recover from tax fraud and identity theft; (v) costs associated with placing freezes on credit



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   reports; (vi) anxiety, emotional distress, loss of privacy, and other economic and non-economic

   losses; (vii) the continued risk to their Personal Information, which remains in Citrix possession

   and is subject to further unauthorized disclosures so long as Citrix fails to undertake appropriate

   and adequate measures to protect the Personal Information of employees and former employees in

   its continued possession; and, (viii) future costs in terms of time, effort and money that will be

   expended to prevent, detect, contest, and repair the inevitable and continuing consequences of

   compromised Personal Information for the rest of their lives.

                                     COUNT II
                                NEGLIGENCE PER SE
              (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS, OR,
               ALTERNATIVELY, PLAINTIFFS AND THE FLORIDA SUBCLASS)

             159.   Plaintiffs restate and re-allege paragraphs 1 through 138 as if fully set forth

   herein.

             160.   Section 5 of the FTC Act prohibits “unfair . . . practices in or affecting commerce,”

   including, as interpreted and enforced by the FTC, the unfair act or practice by businesses, such as

   Citrix, of failing to use reasonable measures to protect Personal Information. 15 U.S.C. § 45(a)(1).

             161.   The FTC publications and orders described above also form part of the basis of

   Citrix’s duty in this regard.

             162.   Citrix violated Section 5 of the FTC Act by failing to use reasonable measures to

   protect Personal Information and not complying with applicable industry standards, as described

   in detail herein. Citrix’s conduct was particularly unreasonable given the nature and amount of

   Personal Information it obtained and stored, and the foreseeable consequences of a data breach at

   a company as large as Citrix, including, specifically, the immense damages that would result to

   Plaintiff and Class members.

             163.   Citrix’s violation of Section 5 of the FTC Act constitutes negligence per se.

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          164.     Plaintiffs and Class members are within the class of persons that the FTC Act was

   intended to protect.

          165.     The harm that occurred as a result of the Data Breach is the type of harm the FTC

   Act was intended to guard against. The FTC has pursued enforcement actions against businesses,

   which, as a result of their failure to employ reasonable data security measures and avoid unfair

   and deceptive practices, caused the same harm as that suffered by Plaintiffs and the Class.

          166.     Moreover, Florida law requires that covered entities “take reasonable measures to

   protect and secure data in electronic form containing personal information.” Fla. Stat.

   § 501.171(2).

          167.     “Covered entity” in includes any “commercial entity that acquires, maintains,

   stores, or uses personal information.” Fla. Stat. § 501.171(1)(b).

          168.     “Personal information” means “[a]n individual’s first name or first initial and last

   name in combination with” several additional data elements for that individual, including, social

   security number; driver license or identification card number; and/or financial account number or

   credit or debit card number. Fla. Stat. § 501.171(1)(g).

          169.     Citrix violated § 501.171(2) by failing to take reasonable measures to protect and

   secure Plaintiffs’ and Class Member’s Personal Information.

          170.     The harm that occurred as a result of the Data Breach is the type of harm section

   501.171(2) was intended to guard against, and Plaintiffs and the Class are in the class of persons

   the section was intended to protect.

          171.     Citrix’s violation of § 501.171(2) constitutes negligence per se.

          172.     As a direct and proximate result of Citrix’s negligence per se, Plaintiffs and Class

   members have suffered and will suffer injury and damages, including but not limited to: (i) the



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   loss of the opportunity to determine for themselves how their Personal Information is used; (ii) the

   publication and/or theft of their Personal Information; (iii) out-of-pocket expenses associated with

   the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of

   their Personal Information; (iv) lost opportunity costs associated with effort expended and the loss

   of productivity addressing and attempting to mitigate the actual and future consequences of the

   Data Breach, including but not limited to efforts spent researching how to prevent, detect, contest

   and recover from tax fraud and identity theft; (v) costs associated with placing freezes on credit

   reports; (vi) anxiety, emotional distress, loss of privacy, and other economic and non-economic

   losses; (vii) the continued risk to their Personal Information, which remains in Citrix possession

   and is subject to further unauthorized disclosures so long as Citrix fails to undertake appropriate

   and adequate measures to protect the Personal Information of employees and former employees in

   its continued possession; and, (viii) future costs in terms of time, effort and money that will be

   expended to prevent, detect, contest, and repair the inevitable and continuing consequences of

   compromised Personal Information for the rest of their lives.

                                 COUNT III
       VIOLATIONS OF THE OF THE FLORIDA UNFAIR AND DECEPTIVE TRADE
                  PRACTICES ACT, FLA. STAT. §§ 501.201, et seq.
          (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS, OR,
           ALTERNATIVELY, PLAINTIFFS AND THE FLORIDA SUBCLASS)

             173.   Plaintiffs restate and re-allege paragraphs 1 through 138 as if fully set forth

   herein.

             174.   Citrix engaged in the conduct alleged in this Complaint through transactions in and

   involving trade and commerce. Mainly, the Data Breach occurred through the use of the internet,

   an instrumentality of interstate commerce.




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          175.    As alleged herein this Complaint, Citrix engaged in unfair or deceptive acts or

   practices in the conduct of consumer transactions, including, among other things, the following:

              a. failure to implement adequate data security practices to safeguard Personal

                  Information;

              b. failure to make only authorized disclosures of employees’ Personal Information;

              c. failure to timely and accurately disclose the Data Breach to Plaintiffs and Class

                  members;

              d. failure to disclose that its computer systems and data security practices were

                  inadequate to safeguard Personal Information from theft; and

              e. failure to timely and accurately disclose the Data Breach to Plaintiffs and Class

                  members.

          176.    Citrix’s actions constitute unconscionable, deceptive, or unfair acts or practices

   because, as alleged herein, Citrix engaged in immoral, unethical, oppressive, and unscrupulous

   activities that are and were substantially injurious to its current and former employees.

          177.    In committing the acts alleged above, Citrix engaged in unconscionable, deceptive,

   and unfair acts and practices acts by omitting, failing to disclose, or inadequately disclosing to its

   current and former employees that it did not follow industry best practices for the collection, use,

   and storage of Personal Information.

          178.    As a direct and proximate result of Citrix’s conduct, Plaintiffs and other members

   of the Class have been harmed and have suffered damages including, but not limited to: damages

   arising from identity theft and fraud; out-of-pocket expenses associated with procuring identity

   protection and restoration services; increased risk of future identity theft and fraud, and the costs




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   associated therewith; and time spent monitoring, addressing and correcting the current and future

   consequences of the Data Breach.

           179.    As a direct and proximate result of the unconscionable, unfair, and deceptive acts

   or practices alleged herein, Plaintiffs have been damaged and are entitled to recover actual

   damages, an order providing declaratory and injunctive relief, and reasonable attorneys’ fees and

   costs, to the extent permitted by law.

           180.    Also as a direct result of Citrix’s knowing violation of the Florida Unfair and

   Deceptive Trade Practices Act, Plaintiffs and Class members are entitled to damages as well as

   injunctive relief, including, but not limited to:

            A.     Ordering that Citrix engage third-party security auditors/penetration testers as well

                   as internal security personnel to conduct testing, including simulated attacks,

                   penetration tests, and audits on Citrix’s systems on a periodic basis, and ordering

                   Citrix to promptly correct any problems or issues detected by such third-party

                   security auditors;

           B.      Ordering that Citrix engage third-party security auditors and internal personnel to

                   run automated security monitoring;

           C.      Ordering that Citrix audit, test, and train its security personnel regarding any new

                   or modified procedures;

           D.      Ordering that Citrix segment Personal Information by, among other things,

                   creating firewalls and access controls so that if one area of Citrix is compromised,

                   hackers cannot gain access to other portions of Citrix systems;

           E.      Ordering that Citrix purge, delete, and destroy in a reasonable secure manner

                   Personal Information not necessary for its provisions of services;



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           F.      Ordering that Citrix conduct regular database scanning and securing checks;

           G.      Ordering that Citrix routinely and continually conduct internal training and

                   education to inform internal security personnel how to identify and contain a

                   breach when it occurs and what to do in response to a breach; and

           H.      Ordering Citrix to meaningfully educate its employees about the threats they face

                   as a result of the loss of their Personal Information to third parties, as well as the

                   steps Citrix employees must take to protect themselves.

                                         COUNT IV
                                   BREACH OF CONTRACT
                       (ON BEHALF OF THE CITRIX EMPLOYEE SUBCLASS)

           181.    Plaintiffs Milligan (on behalf of himself), Howard, Jackson, Michelle Ramus,

   Sargent, and Young (“Plaintiffs,” for purposes of this Count), bring this cause of action on behalf

   of the Citrix Employee Subclass and re-state and re-allege paragraphs 1 through 138 as if fully

   set forth herein.

           182.    Citrix’s Code of Business Conduct is an agreement between Citrix, including its

   management and directors, and its employees, including Plaintiffs and Class members.

           183.    Citrix’s Code of Business Conduct states, among other things, that Citrix and its

   employees are required to (a) “Always protect the privacy of our employees, customers, and

   partners”; (b) “Handle personal information in a manner that will avoid accidental loss or

   alteration or unauthorized access”; and (c) “Never disclose personal information to anyone

   outside of Citrix without specific authorization[.]”

           184.    Plaintiffs and class members fully performed their obligations under Citrix’s Code

   of Business Conduct.




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          185.    Citrix, on the other hand, breached its agreement with Plaintiffs and Class

   members by: (a) failing to protect the privacy of its employees; (b) failing to handle Plaintiffs’

   and Class members’ Personal Information in a manner that would avoid accidental loss or

   alteration or unauthorized access; and (c) disclosing Plaintiffs’ and Class members’ Personal

   Information to unauthorized individuals outside of Citrix.

          186.    As a direct and proximate result of Citrix’s breach of contract, Plaintiffs and Class

   members have suffered and will suffer injury and damages, including but not limited to: (i) the

   loss of the opportunity to determine for themselves how their Personal Information is used; (ii) the

   publication and/or theft of their Personal Information; (iii) out-of-pocket expenses associated with

   the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use of

   their Personal Information; (iv) lost opportunity costs associated with effort expended and the loss

   of productivity addressing and attempting to mitigate the actual and future consequences of the

   Data Breach, including but not limited to efforts spent researching how to prevent, detect, contest

   and recover from tax fraud and identity theft; (v) costs associated with placing freezes on credit

   reports; (vi) anxiety, emotional distress, loss of privacy, and other economic and non-economic

   losses; (vii) the continued risk to their Personal Information, which remains in Citrix possession

   and is subject to further unauthorized disclosures so long as Citrix fails to undertake appropriate

   and adequate measures to protect the Personal Information of employees and former employees in

   its continued possession; and, (viii) future costs in terms of time, effort and money that will be

   expended to prevent, detect, contest, and repair the inevitable and continuing consequences of

   compromised Personal Information for the rest of their lives.




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                                      COUNT V
                            BREACH OF IMPLIED CONTRACT
                    (ON BEHALF OF THE CITRIX EMPLOYEE SUBCLASS)

           187.    Plaintiffs Milligan (on behalf of himself), Howard, Jackson, Michelle Ramus,

   Sargent, and Young (“Plaintiffs,” for purposes of this Count), bring this cause of action on behalf

   of the Citrix Employee Subclass, and assert this claim in the alternative to their breach of contract

   claim to the extent necessary, and re-state and re-allege paragraphs 1 through 138 as if fully set

   forth herein.

           188.    Plaintiffs and Class members were required to provide their Personal Information,

   including names, addresses, Social Security numbers, financial information, beneficiary

   information, and other personal information to Citrix for tax purposes and to receive employment

   and benefits.

           189.    Implicit in the employment agreement between the Citrix and its employees was

   the obligation that Citrix would use the Personal Information of its employees for business

   purposes only and not make unauthorized disclosures of the information or allow unauthorized

   access to the information.

           190.    Additionally, Citrix implicitly promised to retain this Personal Information only

   under conditions that kept such information secure and confidential and therefore Citrix had a

   duty to reasonably safeguard and protect the Personal Information of Plaintiffs and Class

   members from unauthorized disclosure or access.

           191.    Plaintiffs and Class members fully performed their obligations under the implied

   contract with Citrix. Citrix did not.




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          192.    Citrix breached the implied contract with Plaintiffs and Class members by failing

   to reasonably safeguard and protect Plaintiffs’ and Class members’ Personal Information, which

   was compromised as a result of the Data Breach.

          193.    Citrix’s acts and omissions have materially affected the intended purpose of the

   implied contact, which required Plaintiffs and Class members to provide their Personal

   Information in exchange for employment, compensation, and benefits.

          194.    As a direct and proximate result of Citrix breach of implied contract, Plaintiffs and

   Class members have suffered and will suffer injury and damages, including but not limited to: (i)

   the loss of the opportunity to determine for themselves how their Personal Information is used; (ii)

   the publication and/or theft of their Personal Information; (iii) out-of-pocket expenses associated

   with the prevention, detection, and recovery from identity theft, tax fraud, and/or unauthorized use

   of their Personal Information; (iv) lost opportunity costs associated with effort expended and the

   loss of productivity addressing and attempting to mitigate the actual and future consequences of

   the Data Breach, including but not limited to efforts spent researching how to prevent, detect,

   contest and recover from tax fraud and identity theft; (v) costs associated with placing freezes on

   credit reports; (vi) anxiety, emotional distress, loss of privacy, and other economic and non-

   economic losses; (vii) the continued risk to their Personal Information, which remains in Citrix

   possession and is subject to further unauthorized disclosures so long as Citrix fails to undertake

   appropriate and adequate measures to protect the Personal Information of employees and former

   employees in its continued possession; and, (viii) future costs in terms of time, effort and money

   that will be expended to prevent, detect, contest, and repair the inevitable and continuing

   consequences of compromised Personal Information for the rest of their lives.




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                                         COUNT VI
                                BREACH OF FIDUCIARY DUTY
                       (ON BEHALF OF THE CITRIX EMPLOYEE SUBCLASS)

           195.    Plaintiffs Milligan (on behalf of himself), Howard, Jackson, Michelle Ramus,

   Sargent, and Young (“Plaintiffs,” for purposes of this Count), bring this cause of action on behalf

   of the Citrix Employee Subclass and re-state and re-allege paragraphs 1 through 138 as if fully

   set forth herein.

           196.    In light of the special relationship between Citrix and its employees, whereby

   Citrix required Plaintiffs and Class Members to provide highly sensitive, confidential, personal

   and financial information as a condition of their employment, Citrix was a fiduciary, as an

   employer created by its undertaking, to act primarily for the benefit of its employees, including

   Plaintiffs and Class members, for the safeguarding of employees’ Personal Information.

           197.    Citrix had a fiduciary duty to act for the benefit of Plaintiffs and Class members

   upon matters within the scope of their employer/employee relationship, and in particular Citrix

   had a fiduciary duty to keep secure the Personal Information of its current and former employees.

           198.    Citrix breached its duty to Plaintiffs and Class members to ensure that their

   Personal Information was not disclosed without authorization or used for improper purposes by

   failing to provide adequate protections to the information and by disclosing the information to an

   unknown and unauthorized third party.

           199.    As a direct and proximate cause of Citrix’s breach of fiduciary duty, Plaintiffs and

   members of the Citrix Employee Subclass have suffered and will suffer injury and damages,

   including but not limited to: (i) the loss of the opportunity to determine for themselves how their

   Personal Information is used; (ii) the publication and/or theft of their Personal Information; (iii)

   out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft,



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   tax fraud, and/or unauthorized use of their Personal Information; (iv) lost opportunity costs

   associated with effort expended and the loss of productivity addressing and attempting to mitigate

   the actual and future consequences of the Data Breach, including but not limited to efforts spent

   researching how to prevent, detect, contest and recover from tax fraud and identity theft; (v) costs

   associated with placing freezes on credit reports; (vi) anxiety, emotional distress, loss of privacy,

   and other economic and non-economic losses; (vii) the continued risk to their Personal

   Information, which remains in Citrix possession and is subject to further unauthorized disclosures

   so long as Citrix fails to undertake appropriate and adequate measures to protect the Personal

   Information of employees and former employees in its continued possession; and, (viii) future

   costs in terms of time, effort and money that will be expended to prevent, detect, contest, and

   repair the inevitable and continuing consequences of compromised Personal Information for the

   rest of their lives.

                                        COUNT VII
                                  BREACH OF CONFIDENCE
                       (ON BEHALF OF THE CITRIX EMPLOYEE SUBCLASS)

           200.     Plaintiffs Milligan (on behalf of himself), Howard, Jackson, Michelle Ramus,

   Sargent, and Young (“Plaintiffs,” for purposes of this Count), bring this cause of action on behalf

   of the Citrix Employee Subclass and re-state and re-allege paragraphs 1 through 138 as if fully

   set forth herein.

           201.     At all times during Plaintiffs’ and Class members’ interactions with Citrix, Citrix

   was fully aware of the confidential and sensitive nature of Plaintiffs’ and Class members’

   Personal Information that Plaintiffs and Class members provided to Citrix.

           202.     As alleged herein and above, Citrix’s relationship with Plaintiffs and Class’

   members was governed by expectations that Plaintiffs’ and Class members’ Personal Information



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   would be collected, stored, and protected in confidence, and would not be disclosed to

   unauthorized third parties.

          203.    Plaintiffs and Class members provided their respective Personal Information to

   Defendant with the explicit and implicit understandings that Citrix would protect and not permit

   their sensitive Personal Information to be disseminated to any unauthorized parties.

          204.    Plaintiffs and Class members also provided their respective Personal Information

   to Defendant with the explicit and implicit understanding that Citrix would take precautions to

   protect that Personal Information from unauthorized disclosure, such as following industry-

   standard information security practices.

          205.    Defendant voluntarily received in confidence Plaintiffs’ and Class members’

   Personal Information with the understanding that the Personal Information would not be disclosed

   or disseminated to the public or any unauthorized third parties.

          206.    Due to Citrix’s failure to prevent, detect, and/or avoid the Data Breach from

   occurring by, inter alia, failing to follow industry-standard information security practices to

   secure Plaintiffs’ and Class members’ Personal Information, Plaintiffs’ and Class members’

   Personal Information was disclosed to and misappropriated by unauthorized third parties beyond

   Plaintiffs’ and Class members’ confidence, and without their express permission.

          207.    But for Citrix’s disclosure of Plaintiffs’ and Class members’ Personal Information

   in violation of the parties’ understanding of confidence, their Personal Information would not

   have been compromised, stolen, viewed, accessed, and used by unauthorized third parties. The

   Data Breach was the direct and legal cause of the theft of Plaintiffs’ and Class members’ Personal

   Information, as well as the resulting damages.




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          208.    As a direct and proximate cause of Citrix’s actions and/or omissions, Plaintiffs and

   Class members have suffered damages as alleged herein.

          209.    The injuries and harm Plaintiffs and Class members suffered were the reasonably

   foreseeable result of Citrix’s unauthorized disclosure of Plaintiffs’ and Class members’ Personal

   Information. Citrix knew its computer systems and technologies for accepting and securing

   Plaintiffs’ and Class members’ Personal Information had security vulnerabilities because Citrix

   knew it was failing to observe industry standard information security practices.

          210.    As a direct and proximate cause of Citrix’s breaches of confidence, Plaintiffs and

   members of the Citrix Employee Subclass have suffered and will suffer injury and damages,

   including but not limited to: (i) the loss of the opportunity to determine for themselves how their

   Personal Information is used; (ii) the publication and/or theft of their Personal Information; (iii)

   out-of-pocket expenses associated with the prevention, detection, and recovery from identity theft,

   tax fraud, and/or unauthorized use of their Personal Information; (iv) lost opportunity costs

   associated with effort expended and the loss of productivity addressing and attempting to mitigate

   the actual and future consequences of the Data Breach, including but not limited to efforts spent

   researching how to prevent, detect, contest and recover from tax fraud and identity theft; (v) costs

   associated with placing freezes on credit reports; (vi) anxiety, emotional distress, loss of privacy,

   and other economic and non-economic losses; (vii) the continued risk to their Personal

   Information, which remains in Citrix possession and is subject to further unauthorized disclosures

   so long as Citrix fails to undertake appropriate and adequate measures to protect the Personal

   Information of employees and former employees in its continued possession; and, (viii) future

   costs in terms of time, effort and money that will be expended to prevent, detect, contest, and




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   repair the inevitable and continuing consequences of compromised Personal Information for the

   rest of their lives.

                                    COUNT VIII
                             DECLARATORY JUDGMENT
                (ON BEHALF OF PLAINTIFFS AND THE NATIONWIDE CLASS)

             211.   Plaintiffs restate and re-allege paragraphs 1 through 138 as if fully set forth

   herein.

             212.   Under the Declaratory Judgment Act, 28 U.S.C. §§ 2201, et seq., this Court is

   authorized to enter a judgment declaring the rights and legal relations of the parties and grant

   further necessary relief. Furthermore, the Court has broad authority to restrain acts, such as here,

   that are tortious and violate the terms of the state and federal statutes described in this

   Complaint.

             213.   An actual controversy has arisen in the wake of the Data Breach regarding

   Citrix’s present and prospective common law and other duties to reasonably safeguard its

   customers’ Personal Information and whether Citrix is currently maintaining data security

   measures adequate to protect Plaintiffs and Class members from further data breaches that

   compromise their Personal Information. Plaintiffs allege that Citrix’s data security measures

   remain inadequate. Furthermore, Plaintiffs continue to suffer injury as a result of the compromise

   of their Personal Information and remain at imminent risk that further compromises of their

   Personal Information will occur in the future

             214.   Citrix still possesses Personal Information pertaining to Plaintiffs and Class

   members, which means the Personal Information remains at risk of further breaches.

             215.   Accordingly, Citrix has not satisfied its contractual obligations and legal duties to

   Plaintiffs and Class members. In fact, now that Citrix’s lax approach towards data security has



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   become public; the Personal Information in its possession is more vulnerable than it was prior to

   announcement of the Data Breach.

          216.    Actual harm has arisen in the wake of the Data Breach regarding Citrix’s

   contractual obligations and duties of care to provide data security measures to Plaintiffs and Class

   members.

          217.    Pursuant to the Declaratory Judgment Act, Plaintiffs seek a declaration that (a)

   Citrix’s existing data security measures do not comply with its contractual obligations and duties

   of care, and (b) in order to comply with its contractual obligations and duties of care, Citrix must

   implement and maintain reasonable security measures, including, but not limited to:

          a.      engaging third-party security auditors/penetration testers as well as internal

                  security personnel to conduct testing, including simulated attacks, penetration

                  tests, and audits on Citrix’s systems on a periodic basis, and ordering Citrix to

                  promptly correct any problems or issues detected by such third-party security

                  auditors;

          b.      engaging third-party security auditors and internal personnel to run automated

                  security monitoring;

          c.      auditing, testing, and training its security personnel regarding any new or modified

                  procedures;

          d.      segmenting Personal Information by, among other things, creating firewalls and

                  access controls so that if one area of Citrix is compromised, hackers cannot gain

                  access to other portions of Citrix systems;

          e.      purging, deleting, and destroying in a reasonable secure manner Personal

                  Information not necessary for its provisions of services;



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          f.      conducting regular database scanning and securing checks;

          g.      routinely and continually conducting internal training and education to inform

                  internal security personnel how to identify and contain a breach when it occurs and

                  what to do in response to a breach; and

          h.      educating its customers about the threats they face as a result of the loss of their

                  financial and personal information to third parties, as well as the steps Citrix

                  customers must take to protect themselves.

                                          REQUEST FOR RELIEF

          WHEREFORE, Plaintiffs, individually and on behalf of all Class members proposed in

   this Complaint, respectfully request that the Court enter judgment in their favor and against

   Citrix as follows:

          a.      For an Order certifying the Classes, as defined herein, and appointing Plaintiffs

                  and their Counsel to represent the Nationwide Class and Citrix Employee

                  Subclass, or in the alternative the separate Florida Subclass and Citrix Employee

                  Subclass;

          b.      For equitable relief enjoining Citrix from engaging in the wrongful conduct

                  complained of herein pertaining to the misuse and/or disclosure of Plaintiffs’ and

                  Class members’ Personal Information, and from refusing to issue prompt,

                  complete and accurate disclosures to the Plaintiffs and Class members;

          c.      For equitable relief compelling Citrix to use appropriate cyber security methods

                  and policies with respect to consumer data collection, storage and protection and

                  to disclose with specificity to Class members the type of Personal Information

                  compromised;



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          d.      For an award of damages, including nominal damages, as allowed by law in an

                  amount to be determined;

          e.      For an award of attorneys’ fees costs and litigation expenses, as allowable by law;

          f.      For prejudgment interest on all amounts awarded; and

          g.      Such other and further relief as this court may deem just and proper.

                                       JURY TRIAL DEMAND

          Plaintiffs demand a jury trial on all issues so triable.

   Dated: July 29, 2019

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                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true and correct copy of the foregoing was filed and served

   on all counsel of record via the Court’s CM/ECF electronic filing system.

                                               /s/ John A. Yanchunis



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